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On behalf of JULIO A. CASTILLO, Clerk of the District of Columbia Court of Appeals,
the District of Columbia Bar does hereby certify that

Josephine Bahn

was duly qualified and admitted on October 2, 2017 as an attorney and counselor entitled to
practice before this Court; and is, on the date indicated below, an Active member in good
standing of this Bar.

In Testimony Whereof,

I have hereunto subscribed my
name and affixed the seal of this
Court at the City of
Washington, D.C., on December 29, 2022.

‘
JULIO A. CASTILLO
Clerk of the Court

Issued By: a _ Mui , Lili. —~

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David Chu - Director, Membership
District of Columbia Bar Membership

For questions or concerns, please contact the D.C. Bar Membership Office at 202-626-3475 or email
memberservices@dcbar.org.

